      Case 3:16-cr-00220-AWT Document 251 Filed 03/20/18 Page 1 of 2



                    UNITED STATES DISTRICT COURT
                       DISTRICT OF CONNECTICUT

-------------------------------- x
                                 :
UNITED STATES OF AMERICA         :
                                 :
                                 :
v.                               :        No. 3:16-cr-220(AWT)
                                 :
                                 :
DAVID DEMOS                      :
                                 :
-------------------------------- x

     RULING ON GOVERNMENT’S MOTION IN LIMINE (DOC. NO. 134)
                   (Investigative Techniques)

     For the reasons set forth below, Government’s Motion in

Limine to Preclude Argument that the Government Failed to Use

Certain Investigative Techniques (Doc. No. 134) is hereby

DENIED.

     The government seeks an order “precluding the defendant

David Demos from introducing any evidence or argument concerning

the Government’s investigative techniques, including the timing

of victim interviews.”     Gov.’s Motion in Limine (“Gov.’s Mot.”)

(Doc. No. 134) at 1.     The court agrees with the defendant that,

as worded, the relief sought by the government is overly broad

and would preclude the defendant from raising legitimate issues

in his defense, including, without limitation, the absence of

evidence and the credibility and bias of government witnesses.

These types of issues are routinely raised in criminal cases.



                                    1
     Case 3:16-cr-00220-AWT Document 251 Filed 03/20/18 Page 2 of 2



    Also, what the government may view as an improper attempt

to “put its investigation on trial,” Gov.’s Reply Memorandum

(Doc. No. 203) at 1, the defense may contend is a comment on the

absence of evidence or a challenge to the credibility or bias of

a government witness.   The court cannot anticipate with any

reasonable degree of certainty what scenarios will arise during

the trial, and the court’s ruling will necessarily depend on the

specific circumstances of any scenario that arises, including

whether a limiting instruction is the appropriate relief.

    It is so ordered.

    Signed this 20th day of March, 2018, at Hartford,

Connecticut.




                                      /s/ AWT
                                 Alvin W. Thompson
                                 United States District Judge




                                   2
